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         In the United States Court of Federal Claims
                                 OFFICE OF SPECIAL MASTERS
                                         No. 17-0832V
                                      Filed: July 5, 2019
                                        UNPUBLISHED


    DEBORAH FORBES,

                        Petitioner,
    v.                                                       Special Processing Unit (SPU);
                                                             Damages Decision Based on Proffer;
    SECRETARY OF HEALTH AND                                  Influenza (Flu) Vaccine; Shoulder
    HUMAN SERVICES,                                          Injury Related to Vaccine
                                                             Administration (SIRVA)
                       Respondent.


Diana Lynn Stadelnikas, Maglio Christopher & Toale, PA, Sarasota, FL, for petitioner.
Mallori Browne Openchowski, U.S. Department of Justice, Washington, DC, for
respondent.

                               DECISION AWARDING DAMAGES1

Dorsey, Chief Special Master:

       On June 20, 2017, petitioner filed a petition for compensation under the National
Vaccine Injury Compensation Program, 42 U.S.C. §300aa-10, et seq.,2 (the “Vaccine
Act”). Petitioner alleges that she suffered a Shoulder Injury Related to Vaccine
Administration (“SIRVA”) as a result of an influenza vaccination she received in her left
deltoid on October 4, 2016. Petition at 1-2. Petitioner further alleges that she received
the vaccine in the United States, suffered the residual effects of her injury for more than
six months and has never received compensation for her injury, alleged as vaccine
caused. Petition at 1-2. The case was assigned to the Special Processing Unit of the
Office of Special Masters.


1 The undersigned intends to post this decision on the United States Court of Federal Claims' website.
This means the decision will be available to anyone with access to the internet. In accordance with
Vaccine Rule 18(b), petitioner has 14 days to identify and move to redact medical or other information,
the disclosure of which would constitute an unwarranted invasion of privacy. If, upon review, the
undersigned agrees that the identified material fits within this definition, the undersigned will redact such
material from public access. Because this unpublished decision contains a reasoned explanation for the
action in this case, undersigned is required to post it on the United States Court of Federal Claims'
website in accordance with the E-Government Act of 2002. 44 U.S.C. § 3501 note (2012) (Federal
Management and Promotion of Electronic Government Services).
2National Childhood Vaccine Injury Act of 1986, Pub. L. No. 99-660, 100 Stat. 3755. Hereinafter, for
ease of citation, all “§” references to the Vaccine Act will be to the pertinent subparagraph of 42 U.S.C.
§ 300aa (2012).
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        On March 16, 2018, a ruling on entitlement was issued, finding petitioner entitled
to compensation for her SIRVA. On July 2, 2019, respondent filed a proffer on award of
compensation (“Proffer”) indicating petitioner should be awarded $159,581.87. Proffer
at 2. In the Proffer, respondent represented that petitioner agrees with the proffered
award. Id. Based on the record as a whole, the undersigned finds that petitioner is
entitled to an award as stated in the Proffer.

       Pursuant to the terms stated in the attached Proffer, the undersigned awards
petitioner a lump sum payment of $159,581.87 (comprised of damages for pain
and suffering in the amount of $150,000.00 and damages for unreimbursed
medical expenses in the amount of $9,581.87) in the form of a check payable to
petitioner, Deborah Forbes. This amount represents compensation for all damages
that would be available under § 15(a).

       The clerk of the court is directed to enter judgment in accordance with this
decision.3

IT IS SO ORDERED.

                                          s/Nora Beth Dorsey
                                          Nora Beth Dorsey
                                          Chief Special Master




3 Pursuant to Vaccine Rule 11(a), entry of judgment can be expedited by the parties’ joint filing of notice
renouncing the right to seek review.


                                                      2
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                IN THE UNITED STATES COURT OF FEDERAL CLAIMS
                          OFFICE OF SPECIAL MASTERS

    DEBORAH FORBES,

                 Petitioner,
                                                       No. 17-832V
    v.                                                 Chief Special Master Dorsey
                                                       ECF
    SECRETARY OF HEALTH AND
    HUMAN SERVICES,

                 Respondent.




              RESPONDENT’S PROFFER ON AWARD OF COMPENSATION

I.       Compensation for Vaccine Injury-Related Items

         On March 15, 2018, respondent concededed that entitlement to compensation was

appropriate under the terms of the Vaccine Act. Thereafter, on March 16, 2018, Chief Special

Master Dorsey issued a Ruling on Entitlement finding that petitioner was entitled to vaccine

compensation for her Shoulder Injury Related to Vaccine Administration(“SIRVA”). Based on

the evidence of record, respondent proffers that petitioner should be awarded $159,581.87, which

is comprised of damages for pain and suffering in the amount of $150,000.00, and damages for

unreimbursed medical expenses in the amount of $9,581.87. This amount represents all elements

of compensation to which petitioner would be entitled under 42 U.S.C. § 300aa-15(a). 1

Petitioner agrees.




1
  Should petitioner die prior to entry of judgment, the parties reserve the right to move the Court
for appropriate relief. In particular, respondent would oppose any award for future lost earnings
and future pain and suffering.
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II.       Form of the Award

          The parties recommend that compensation provided to petitioner should be made through

a lump sum payment of $159,581.87, in the form of a check payable to petitioner. Petitioner

agrees.

          Petitioner is a competent adult. Evidence of guardianship is not required in this case.

                                                       Respectfully submitted,

                                                       JOSEPH H. HUNT
                                                       Assistant Attorney General

                                                       C. SALVATORE D’ALESSIO
                                                       Acting Director
                                                       Torts Branch, Civil Division

                                                       CATHARINE E. REEVES
                                                       Deputy Director
                                                       Torts Branch, Civil Division

                                                       GABRIELLE M. FIELDING
                                                       Assistant Director
                                                       Torts Branch, Civil Division

                                                       s/ Mallori B. Openchowski
                                                       MALLORI B. OPENCHOWSKI
                                                       Trial Attorney
                                                       Torts Branch, Civil Division
                                                       U.S. Department of Justice
                                                       P.O. Box 146, Ben Franklin Station
                                                       Washington, DC 20044-0146
                                                       Tel.: (202) 305-0660


DATED: July 2, 2019
